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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                            7/17/2023


SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff,                       20-CV-10832 (AT)(SN)

                          -against-                                                 ORDER

RIPPLE LABS, INC., et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        In light of Judge Torres’s recent decision on the parties’ cross-motions for summary

judgment, ECF No. 874, the parties are directed to contact Courtroom Deputy Rachel Slusher at

Rachel_Slusher@nysd.uscourts.gov with three mutually convenient dates to schedule a

settlement conference if they believe it would be productive at this time. Due to the Court’s busy

calendar, settlement conferences must generally be scheduled at least six to eight weeks in

advance. The Court will likely be unable to accommodate last-minute requests for settlement

conferences, and the parties should not anticipate that litigation deadlines will be adjourned in

response to late requests for settlement conferences.

SO ORDERED.



                                                             SARAH NETBURN
                                                             United States Magistrate Judge
DATED:           July 17, 2023
                 New York, New York
